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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE


In re:                                                        Chapter 11

SOUTHCROSS ENERGY PARTNERS, L.P.,                             Case No. 19-10702 (MFW)
et al.,
                                                              Jointly Administered
                 Debtors.1
                                                              RE: D.I. 13 and 58

                                                              Hearing Date: May 7, 2019 at 11:00 a.m. (ET)
                                                              Objection Deadline: April 16, 2019 at 4:00 p.m. (ET)


    NOTICE OF HEARING REGARDING MOTION OF DEBTORS FOR ENTRY OF
  INTERIM AND FINAL ORDERS AUTHORIZING (I) DEBTORS TO CONTINUE TO
  MAINTAIN EXISTING CASH MANAGEMENT SYSTEM, BANK ACCOUNTS, AND
     BUSINESS FORMS AND (II) FINANCIAL INSTITUTIONS TO HONOR AND
               PROCESS RELATED CHECKS AND TRANSFERS

               PLEASE TAKE NOTICE that on April 1, 2019, the above-captioned debtors and
debtors-in-possession (the “Debtors”) filed the Motion of Debtors for Entry of Interim and
Final Orders Authorizing (I) Debtors to Continue to Maintain Existing Cash Management
System, Bank Accounts, and Business Forms and (II) Financial Institutions to Honor and
Process Related Checks and Transfers (D.I. 13) (the “Motion”).

               PLEASE TAKE FURTHER NOTICE that, on April 2, 2019, the Bankruptcy
Court entered the Interim Order Authorizing (I) Debtors to Continue To Maintain Existing
Cash Management System, Bank Accounts, and Business Forms and (II) Financial
Institutions to Honor and Process Related Checks and Transfers (D.I. 58) (the “Interim
Order”).



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           The debtors and debtors in possession in these chapter 11 cases, along with the last four digits of their
respective Employer Identification Numbers, are as follows: Southcross Energy Partners, L.P. (5230); Southcross
Energy Partners GP, LLC (5141); Southcross Energy Finance Corp. (2225); Southcross Energy Operating, LLC
(9605); Southcross Energy GP LLC (4246); Southcross Energy LP LLC (4304); Southcross Gathering Ltd. (7233);
Southcross CCNG Gathering Ltd. (9553); Southcross CCNG Transmission Ltd. (4531); Southcross Marketing
Company Ltd. (3313); Southcross NGL Pipeline Ltd. (3214); Southcross Midstream Services, L.P. (5932);
Southcross Mississippi Industrial Gas Sales, L.P. (7519); Southcross Mississippi Pipeline, L.P. (7499); Southcross
Gulf Coast Transmission Ltd. (0546); Southcross Mississippi Gathering, L.P. (2994); Southcross Delta Pipeline
LLC (6804); Southcross Alabama Pipeline LLC (7180); Southcross Nueces Pipelines LLC (7034); Southcross
Processing LLC (0672); FL Rich Gas Services GP, LLC (5172); FL Rich Gas Services, LP (0219); FL Rich Gas
Utility GP, LLC (3280); FL Rich Gas Utility, LP (3644); Southcross Transmission, LP (6432); T2 EF Cogeneration
Holdings LLC (0613); and T2 EF Cogeneration LLC (4976). The debtors’ mailing address is 1717 Main Street,
Suite 5300, Dallas, TX 75201.
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              PLEASE TAKE FURTHER NOTICE that objections, if any, to final approval of
the Motion must (a) be in writing; (b) be filed with the Clerk of the Bankruptcy Court, 824
Market Street, 3rd Floor, Wilmington, Delaware 19801, on or before April 16, 2019 at 4:00
p.m. (Eastern Time) (the “Objection Deadline”); and (c) served so as to be received on or
before the Objection Deadline by: (i) the Debtors, c/o Southcross Energy Partners, L.P., 1717
Main Street, Suite 5300, Dallas, TX 75201, Attn: Kelly J. Jameson and (ii) proposed counsel to
the Debtors, (A) Davis Polk & Wardwell LLP, 450 Lexington Avenue, New York, New York,
10017, Attn: Darren S. Klein, Esq., Steven Z. Szanzer, Esq., and Benjamin M. Schak, Esq. and
(B) Morris, Nichols, Arsht & Tunnell LLP, 1201 North Market Street, 16th Floor, P.O. Box
1347, Wilmington, Delaware 19899, Attn: Robert J. Dehney, Esq. and Andrew Remming, Esq.

               PLEASE TAKE FURTHER NOTICE THAT only objections made in writing and
timely filed and received, in accordance with the procedures above, will be considered by the
Bankruptcy Court at such hearing.

         PLEASE TAKE FURTHER NOTICE THAT A FINAL HEARING ON THE
MOTION WILL BE HELD ON MAY 7, 2019 AT 11:00 A.M. (ET) BEFORE THE
HONORABLE MARY F. WALRATH, AT THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE, 824 MARKET STREET, 5TH FLOOR,
COURTROOM #4, WILMINGTON, DELAWARE 19801.

          IF YOU FAIL TO RESPOND IN ACCORDANCE WITH THIS NOTICE, THE
COURT MAY GRANT THE RELIEF REQUESTED IN THE MOTION WITHOUT
FURTHER NOTICE OR HEARING.

Dated:   April 2, 2019
         Wilmington, Delaware
                                             MORRIS, NICHOLS, ARSHT & TUNNELL LLP

                                             /s/ Eric W. Moats
                                              Robert J. Dehney (No. 3578)
                                              Andrew R. Remming (No. 5120)
                                              Joseph C. Barsalona II (No. 6102)
                                              Eric W. Moats (No. 6441)
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                        -and-

                        DAVIS POLK & WARDWELL LLP

                        Marshall S. Huebner (admitted pro hac vice)
                        Darren S. Klein (admitted pro hac vice)
                        Steven Z. Szanzer (admitted pro hac vice)
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                        benjamin.schak@davispolk.com
                        Proposed Counsel to the Debtors and Debtors in
                        Possession




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